Information to identify the case:
Debtor 1              Paul Gilbert Serrano                                      Social Security number or ITIN        xxx−xx−3032
                      First Name   Middle Name   Last Name                      EIN _ _−_ _ _ _ _ _ _
Debtor 2              Amanda Kristin Serrano                                    Social Security number or ITIN        xxx−xx−8037
(Spouse, if filing)
                      First Name   Middle Name   Last Name                      EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Utah
                                                                      Date case filed for chapter 7: 3/31/25
Case number: 25−21693 JTM

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov) or by
calling the Voice Case Information System (VCIS) at 1−866−222−8029.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                            About Debtor 1:                                          About Debtor 2:

1.      Debtor's full name                  Paul Gilbert Serrano                                     Amanda Kristin Serrano

2.      All other names used in the fdba BP Express, Inc, fdba La Luna Mexican
        last 8 years                Restaurant

3.     Address                             6389 W Lake Ave                                           6389 W Lake Ave
                                           South Jordan, UT 84009                                    South Jordan, UT 84009

4.     Debtor's attorney                   Nicholas R. Russell                                      Contact phone 801−899−6064
                                           Rogers & Russell, PLLC
       Name and address                    170 S. Main St.                                          Email: nrussell@roruss.com
                                           Pleasant Grove, UT 84062

5.     Bankruptcy trustee                  Philip G. Jones tr                                       Contact phone (801) 358−7968
                                           1215 South Main Street
       Name and address                    Orem, UT 84058                                           Email: trustee@theo7.com
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
Date Generated: 4/8/25                                                                                         For more information, see page 2 >
Debtor Paul Gilbert Serrano and Amanda Kristin Serrano                                                                     Case number 25−21693
6. Bankruptcy clerk's office              United States Bankruptcy Court                         Hours open: 8:00 AM to 4:30 PM, Monday − Friday
                                          District of Utah
   Documents in this case may be filed at 350 South Main #301                                    Contact phone: (801) 524−6687
   this address. You may inspect all      Salt Lake City, UT 84101
    records filed in this case at this office or
    online at https://pacer.uscourts.gov.                                                        Website: www.utb.uscourts.gov
                                                   Clerk of Court: David A. Sime

7. Meeting of creditors                            The meeting may be continued or               Meeting to be held on:
                                                   adjourned to a later date.                    April 30, 2025 at 08:30 AM
    Debtors must attend the meeting to be
    questioned under oath. In a joint case,    All individual debtor(s) must
    both spouses must attend. Creditors        provide picture identification and     Location:
    may attend, but are not required to do
                                               proof of social security number to     Zoom video meeting. Go to Zoom.us/join, Enter
    so.                                                                               Meeting ID 373 348 2031, and Passcode
                                               the trustee at the meeting of
                                               creditors. Failure to do so may        7158741279, OR call 1−385−363−3817
                                               result in your case being
                                               dismissed.
                                    For additional meeting information go to https://www.justice.gov/ust/moc

8. Presumption of abuse                            The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                       File by the deadline to object to             Filing deadline: 6/30/25
                                                   discharge or to challenge
    The bankruptcy clerk's office must             whether certain debts are
    receive these documents and any                dischargeable:
    required filing fee by the following
    deadlines.
                                                   You must file a complaint:
                                                   • if you assert that the debtor is not entitled to
                                                     receive a discharge of any debts under any of the
                                                     subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or

                                                   • if you want to have a debt excepted from discharge
                                                     under 11 U.S.C § 523(a)(2), (4), or (6).

                                                   You must file a motion:
                                                   • if you assert that the discharge should be denied
                                                     under § 727(a)(8) or (9).


                                                   Deadline to object to                         Filing deadline: 30 days after the conclusion of
                                                   exemptions:                                   the meeting of creditors
                                                   The law permits debtors to keep certain
                                                   property as exempt. If you believe that the
                                                   law does not authorize an exemption
                                                   claimed, you may file an objection.


10. Proof of claim                             No property appears to be available to pay creditors. Therefore, please do not file a proof
                                               of claim now. If it later appears that assets are available to pay creditors, the clerk will
    Please do not file a proof of claim unless send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.             deadline.

11. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                        asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                                   United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                   be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                                   You may inspect that list at the bankruptcy clerk's office or online at
                                                   https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                   that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                   receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                      page 2
                                                              United States Bankruptcy Court
                                                                      District of Utah
In re:                                                                                                                 Case No. 25-21693-JTM
Paul Gilbert Serrano                                                                                                   Chapter 7
Amanda Kristin Serrano
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 1088-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Apr 08, 2025                                               Form ID: 309A                                                             Total Noticed: 36
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 10, 2025:
Recip ID                   Recipient Name and Address
db/jdb                 +   Paul Gilbert Serrano, Amanda Kristin Serrano, 6389 W Lake Ave, South Jordan, UT 84009-1350
12630982               +   Acapulco Restaurant, 1430 Indiana Ave, Salt Lake City, UT 84104-3152
12630986               +   B Taylor & Associates, 2102 East 3300 South, Salt Lake City, UT 84109-2633
12630993               +   ERC Professionals, 135 S Mountain Way, Orem, UT 84058-5119
12630992               +   Enbridge Gas, PO Box 45360, Salt Lake City, UT 84145-0360
12630996               +   Kesler & Rust, 68 S Main St, Ste 200, Salt Lake City, UT 84101-1525
12631000              #+   Patricia Page, 6291 Barton Park Dr, West Jordan, UT 84081-4062
12631001               +   Pepsi Cola, PO Box 660634, Dallas, TX 75266-0634
12631003               +   Professional Alarm, PO Box 8576, Midvale, UT 84047-8551
12631004               +   ROC Funding Group, PO Box 580, Lakewood, NJ 08701-0580
12631007               +   Sunbow Foods, 100 S State St, Lindon, UT 84042-1941
12631009               +   Sysco Intermountain Inc, 9494 S Prosperity Rd, West Jordan, UT 84081-6205
12631010               +   Third District Court, Salt Lake Dept, PO Box 1860, Salt Lake City, UT 84110-1860
12631012               +   US Foods, 835 W San Jose St, Ogden, UT 84401-3564
12631015               +   Young Hoffman, LLC, 175 S Main St, Suite 850, Salt Lake City, UT 84111-1932

TOTAL: 15

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: nrussell@roruss.com
                                                                                        Apr 09 2025 00:40:00      Nicholas R. Russell, Rogers & Russell, PLLC, 170
                                                                                                                  S. Main St., Pleasant Grove, UT 84062
tr                     + EDI: QPGJONES
                                                                                        Apr 09 2025 04:29:00      Philip G. Jones tr, 1215 South Main Street, Orem,
                                                                                                                  UT 84058-6849
12630985               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Apr 09 2025 00:39:39      AMEX, Correspondence/Bankruptcy, PO Box
                                                                                                                  981535, El Paso, TX 79998-1535
12630983               + EDI: MAXMSAIDV
                                                                                        Apr 09 2025 04:29:00      Aidvantage, Attn: Bankruptcy, PO Box 300001,
                                                                                                                  Greenville, TX 75403-3001
12630984               + Email/Text: e-bankruptcy@americafirst.com
                                                                                        Apr 09 2025 00:40:00      America First Credit Union, Attn: Bankruptcy, PO
                                                                                                                  Box 9199, Ogden, UT 84409-0199
12630988               + EDI: CAPONEAUTO.COM
                                                                                        Apr 09 2025 04:29:00      Capital One Auto Finance, Attn: Bankruptcy, 7933
                                                                                                                  Preston Rd, Plano, TX 75024-2302
12630989               + EDI: COMCASTCBLCENT
                                                                                        Apr 09 2025 04:29:00      Comcast, PO Box 60533, City of Industry, CA
                                                                                                                  91716-0533
12630990               + EDI: DISCOVER
District/off: 1088-2                                               User: admin                                                            Page 2 of 3
Date Rcvd: Apr 08, 2025                                            Form ID: 309A                                                        Total Noticed: 36
                                                                                   Apr 09 2025 04:29:00     Discover Financial, Attn: Bankruptcy, PO Box
                                                                                                            3025, New Albany, OH 43054-3025
12630991              + EDI: DISCOVERPL
                                                                                   Apr 09 2025 04:29:00     Discover Personal Loans, Attn: Bankruptcy, PO
                                                                                                            Box 30954, Salt Lake City, UT 84130-0954
12630994              + Email/Text: cdeville@farmerbros.com
                                                                                   Apr 09 2025 00:40:00     Farmer Brothers Coffee, 1912 Farmer Brothers Dr,
                                                                                                            Roanoke, TX 76262-1857
12630995              + EDI: IRS.COM
                                                                                   Apr 09 2025 04:29:00     Internal Revenue Service, PO Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
12630987                 Email/Text: bureauknight@yahoo.com
                                                                                   Apr 09 2025 00:40:00     Bryan L. Quick, 5525 South 900 East, Suite 232,
                                                                                                            Salt Lake City, UT 84117
12630997              + Email/Text: bureauknight@yahoo.com
                                                                                   Apr 09 2025 00:40:00     Knight Adjustment Bureau, 5525 South 900 East
                                                                                                            #215, Salt Lake City, UT 84117-3500
12630998              + Email/Text: jlothrop@macu.com
                                                                                   Apr 09 2025 00:40:00     Mountain America Credit Union, PO Box 2331,
                                                                                                            Sandy, UT 84091-2331
12630999              + Email/Text: nsm_bk_notices@mrcooper.com
                                                                                   Apr 09 2025 00:40:00     Mr Cooper/United Wholesale Mortgage, Attn:
                                                                                                            Bankruptcy, PO Box 619098, Dallas, TX
                                                                                                            75261-9098
12631005                 Email/Text: anne.kohls@pacificorp.com
                                                                                   Apr 09 2025 00:40:00     Rocky Mountain Power, PO Box 26000, Portland,
                                                                                                            OR 97256
12631006                 Email/Text: bankruptcy@sequium.com
                                                                                   Apr 09 2025 00:40:00     Sequium Asset Solutions, LLC, 1130 Northchase
                                                                                                            Parkway, Suite 150, Marietta, GA 30067
12631008                 EDI: SYNC
                                                                                   Apr 09 2025 04:29:00     Synchrony Bank/Sam's Club, PO Box 965005,
                                                                                                            Orlando, FL 32896-5005
12631011              ^ MEBN
                                                                                   Apr 09 2025 00:34:09     Travelers Insurance, PO Box 660317, Dallas, TX
                                                                                                            75266-0317
12631013              + EDI: UTAHTAXCOMM.COM
                                                                                   Apr 09 2025 04:29:00     Utah State Tax Commission, BK Unit, 210 North
                                                                                                            1950 West, Salt Lake City, UT 84134-9000
12631014              + Email/Text: utility.billing@westjordan.utah.gov
                                                                                   Apr 09 2025 00:40:00     West Jordan City, 8000 S Redwood Rd #331,
                                                                                                            West Jordan, UT 84088-4604

TOTAL: 21


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
12631002        ##+           Plaza at Jordan Landing LLC, 5850 Avenida Encinas, Suite A, Carlsbad, CA 92008-4465

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 10, 2025                                        Signature:           /s/Gustava Winters
District/off: 1088-2                                             User: admin                                                            Page 3 of 3
Date Rcvd: Apr 08, 2025                                          Form ID: 309A                                                        Total Noticed: 36



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 31, 2025 at the address(es) listed
below:
Name                            Email Address
Nicholas R. Russell
                                on behalf of Debtor Paul Gilbert Serrano nrussell@roruss.com
                                paralegal@roruss.com;rorusslaw@gmail.com;srogers@roruss.com;bwhiting@roruss.com;r47264@notify.bestcase.com

Nicholas R. Russell
                                on behalf of Joint Debtor Amanda Kristin Serrano nrussell@roruss.com
                                paralegal@roruss.com;rorusslaw@gmail.com;srogers@roruss.com;bwhiting@roruss.com;r47264@notify.bestcase.com

Philip G. Jones tr
                                trustee@theo7.com PJones2@ecf.axosfs.com

United States Trustee
                                USTPRegion19.SK.ECF@usdoj.gov


TOTAL: 4
